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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 3:08-CR-0079 DPJ JCS

KIMBERLY GENTRY
CANDANCE BROWN,
LATONYA CASNELL, and
JAMAAL TYLER

                    ORDER OF DISMISSAL OF REMAINING COUNTS
             AS TO DEFENDANT LATONYA CASNELL WITHOUT PREJUDICE

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Counts 2, 3, 4, 5, 7, 8, 9, 10, 11, 13, 14, 16, 17, 18, 19 and 20 of the Indictment against

defendant LATONYA CASNELL without prejudice.

                                               Respectfully submitted,

                                               STAN HARRIS
                                               Acting United States Attorney

                                               /s/Dave Fulcher
                                       By:     DAVE FULCHER
                                               Assistant United States Attorney

       Leave of Court is granted for the filing of the foregoing dismissal of Counts 2, 3, 4, 5, 7,

8, 9, 10, 11, 13, 14, 16, 17, 18, 19 and 20 as to defendant LATONYA CASNELL without

prejudice.

       SO ORDERED AND ADJUDGED this the 28th day of August, 2009.

                                               s/ Daniel P. Jordan III
                                               UNITED STATES DISTRICT JUDGE
